 Case 1:23-cv-00278-PLM-RSK ECF No. 9, PageID.36 Filed 04/27/23 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN


 Hagan Realty, Inc., Matt Hagan LLC, and                Court File No. 1:23-cv-278 PLM-RSK
 Matthew Hagan,
                                                                         Hon. Paul L. Maloney
                     Plaintiffs,

 vs.

 The City of East Lansing, Michigan, a
 Michigan municipality,

                   Defendant.



       NOTICE OF VOLUNARY DISMISSAL UNDER F.R.C.P. 41(a)(1)(A)(i)




       In accordance with Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(i), the plaintiffs

Hagan Realty, Inc., Matt Hagan LLC, and Matthew Hagan, through their attorneys, give

notice that this action is voluntarily dismissed. The defendant City of East Lansing, Michigan

has not served an answer or motion for summary judgment in this action. Accordingly, the

plaintiffs notice for the voluntary dismissal of this action is without prejudice. See Fed. R.
 Case 1:23-cv-00278-PLM-RSK ECF No. 9, PageID.37 Filed 04/27/23 Page 2 of 2




Civ. P. 41(a)(1)(B).

 Dated: April 27, 2023                   /s/Erick G. Kaardal
                                         Erick G. Kaardal, MN Atty. No. 229647
                                         Mohrman, Kaardal & Erickson, P.A.
                                         Special Counsel for Thomas More Society
                                         150 South Fifth Street, Suite 3100
                                         Minneapolis, MN 55402
                                         Telephone: (612) 341-1074
                                         Email: kaardal@mklaw.com

                                         /s/ B. Tyler Brooks
                                         B. Tyler Brooks,† MI Atty. No. P82567
                                         Thomas More Society
                                         309 W. Washington Street, Suite 1250
                                         Chicago, IL 60606
                                         Cell: (336) 707-8855
                                         Fax: (336) 900-6535
                                         Email: tbrooks@thomasmoresociety.org

                                         †Admitted in MI, NC, SC, and TN;
                                         not admitted in IL


                                         Attorneys for Plaintiffs




                                     2
